          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:08cr259


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
LATOYA BLAKENEY,          )
TERRELL ZARDEE, and       )
GABRIEL NEAL.             )
                          )



      THIS MATTER is before the Court sua sponte to continue the case

from the April 2009 term of court.

      Each of the Defendant is joined for trial with a codefendant as to

whom the time for trial has not run and no motion for severance has been

granted. 18 U.S.C. §3161(h)(6). Because the trial of the codefendants

has been continued from the trial term, the Court finds the trial of these

Defendants should also be continued in order to avoid a miscarriage of

justice. 18 U.S.C. §3161(h)(7)(B)(i).




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     The Court also finds that the ends of justice served by granting the

continuance outweigh the best interests of the public and the Defendants

in a speedy trial. 18 U.S.C. §3161(h)(7)(A).

     IT IS, THEREFORE, ORDERED that the Defendants’ trials are

hereby continued from the April term in the Charlotte Division.




                                     Signed: March 23, 2009




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